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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

TIKEILA RUCKER, RACHAEL SPRIGGS,
                                                  )
DAMON CURRY-MORRIS, AMBER
                                                  )
SHERMAN, and LAJUANA ABRAHAM,
                                                  )
        Plaintiffs,                               )
                                                  )
 v.                                               )
                                                  )           No. 2:23-cv-2358-SHL-cgc
SHELBY COUNTY BOARD OF                            )
EDUCATION and CAROLYN JACKSON,                    )
in her official capacity as Chief of Safety and   )
Security for the SHELBY COUNTY BOARD              )
OF EDUCATION,                                     )
        Defendants.                               )

                                     SCHEDULING ORDER

       Pursuant to written notice, a scheduling conference was held on August 1, 2023. Present

were Benjamin A. Gastel and Alyson Beridon, counsel for plaintiffs, and Andrew M. Horvath,

counsel for defendants. At the conference, the following dates were established as the final

deadlines for:

INITIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(1): August 15, 2023

MOTIONS TO JOIN PARTIES: October 2, 2023

MOTIONS TO AMEND PLEADINGS: October 2, 2023

MOTIONS TO DISMISS: November 3, 2023

ALTERNATIVE DISPUTE RESOLUTION:

       (a)       ADR DEADLINE PURSUANT TO ADR PLAN RULE 4.3(a):
                                        October 24, 2023
                 Mediator must file Mediation Certification Form:
                 https://www.tnwd.uscourts.gov/pdf/content/MediationCertificationForm.pdf
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         (b)      SELECTION OF MEDIATOR PURSUANT TO ADR PLAN RULE 5.4(c)2:

                  STIPULATION FILING DATE: August 11, 2023
                  (If the parties fail to agree upon a Mediator by this deadline, the Court shall select
                  a Mediator for the case from the Court's Mediator list and shall issue an Order
                  notifying the parties of the Mediator's identity)

COMPLETING ALL DISCOVERY: April 30, 2024

      (a)      WRITTEN DISCOVERY1: March 29, 2024

      (b)      DEPOSITIONS: April 30, 2024

      (c)      EXPERT WITNESS DISCLOSURES (Rule 26):

               (1)     DISCLOSURE OF PLAINTIFFS’ RULE 26 EXPERT
                       INFORMATION: February 27, 2024

               (2)     DISCLOSURE OF DEFENDANTS’ RULE 26 EXPERT
                       INFORMATION: March 29, 2024

               (3)     EXPERT WITNESS DEPOSITIONS: April 30, 2024

SUPPLEMENTATION UNDER RULE 26(e)(1): April 30, 2024

MOTIONS TO EXCLUDE EXPERTS/DAUBERT MOTIONS: May 15, 2024

FILING DISPOSITIVE MOTIONS: May 31, 2024

JOINT PROPOSED PRETRIAL ORDER DUE: October 11, 2024
(E-Mail Joint Proposed Pretrial Order in Word or WordPerfect format to:
ECF_Judge_Lipman@tnwd.uscourts.gov)

PRETRIAL CONFERENCE DATE: October 18, 2024, at 9:30 a.m.
(All counsel participating in the trial must be present in person at the pretrial conference.)

NON-JURY TRIAL: October 28, 2024, at 9:30 a.m. Trial is anticipated to last approximately
2-3 days.

The parties do not consent to trial before the Magistrate Judge.




1
 The parties shall serve requests at least 45 days before the deadline to complete written discovery to allow
sufficient time for responses by the deadline for completion of discovery.



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OTHER RELEVANT MATTERS:

         As required by Local Rule 26.1(e), the parties have conferred as to whether they will seek
discovery of electronically stored information ("e-discovery") and have not reached an
agreement regarding e-discovery and will comply with the default standards described in Local
Rule 26.1(e) until such time, if ever, the parties reach an agreement and the court approves the
parties' e-discovery plan.

        Pursuant to agreement of the parties, if privileged or protected information is
inadvertently produced, the producing party may, by timely notice, assert the privilege or
protection and obtain the return of the materials without waiver.

        Pursuant to Local Rule 16.3(d), within 7 days of completion of ADR, the parties shall file
a notice via ECF confirming that the ADR was conducted and indicating whether it was
successful or unsuccessful, without disclosing the parties' respective positions at the ADR. The
Mediator must file a Mediation Certification form, as noted above.

        Pursuant to Local Rule 7.2(a)(1)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall, be accompanied by a proposed order in a word processing format sent
to the ECF mailbox of the presiding judge.

       Pursuant to Local Rule 7.2(a)(1)(B), the parties are required to consult prior to filing any
motion (except motions filed pursuant to Fed. R. Civ. P. 12, 56, 59, and 60).

        The opposing party must file a response to any opposed motion. Pursuant to Local Rule
7.2(a)(2), a party's failure to respond timely to any motion, other than one requesting dismissal of
a claim or action, may be deemed good grounds for granting the motion.

         Neither party may file an additional reply to any motion, other than a motion filed
pursuant to Fed. R. Civ. P. 12(b) or 56, without leave of the court. Pursuant to Local Rule 7.2(c),
if a party believes that a reply is necessary, it shall file a motion for leave to file a reply within 7
days of service of the response, setting forth the reasons why a reply is required.

      This order has been entered after consultation with the parties. Absent good cause
shown, the deadlines set by this order will not be modified or extended.

        IT IS SO ORDERED, this 1st day of August, 2023.


                                                s/ Sheryl H. Lipman
                                                SHERYL H. LIPMAN
                                                CHIEF UNITED STATES DISTRICT JUDGE




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